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   6
   7   Attorneys for Plaintiff Ox Labs Inc.
   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                  WESTERN DIVISION
  11    OX LABS INC., a California                  Case No. CV 18-5934-MWF(KSx)
  12    Corporation,
                                                    PLAINTIFF OX LABS INC.’S
  13                Plaintiff,                      PROPOSED JURY
                                                    INSTRUCTIONS AND
  14                       vs.                      OBJECTIONS TO DEFENDANT
  15                                                BITPAY, INC.’S PROPOSED
        BITPAY, INC., a Delaware                    JURY INSTRUCTIONS
  16    Corporation, and Does 1-10,

  17                Defendants.                     Pretrial Conf: November 18, 2019
                                                    Time: 11:00 a.m.
  18                                                Dept.: 5A
  19                                                Trial: December 3, 2019
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  22
  23         Pursuant to L.R. 16-2 and the Court’s Order Regarding Jury Trial (Dkt. 22),
  24   Plaintiff Ox Labs Inc. (“Ox Labs”) submits its proposed jury instructions and
  25   objections to the proposed jury instructions of Defendant BitPay, Inc. (“BitPay”) in
  26   the above-entitled matter:
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   1               Index of Plaintiff Ox Labs’ Proposed Jury Instructions
   2
        No.    Title                           Source                           Page
   3
        25     CONVERSION –                    CACI 2100 and additional         3
   4           ESSENTIAL FACTUAL               cited authority
               ELEMENTS
   5
   6    26     UNJUST ENRICHMENT – CACI 374 and additional cited 5
               QUASI-CONTRACT -    authority
   7           MISTAKEN RECEIPT

   8    27     SPECIFIC RECOVERY               Cited authority                  7
   9    28     DAMAGES FOR                     CACI 2102 and additional         9
               CONVERSION                      cited authority
  10
               (CAL. CIV. CODE § 3336)
  11
        29     STATUTE OF          Cal. Civ. Proc. Code § 338                   12
  12           LIMITATIONS –       and additional cited authority
               AFFIRMATIVE DEFENSE
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   1                        Plaintiff’s Proposed Instruction No. 25
   2              CONVERSION—ESSENTIAL FACTUAL ELEMENTS
   3         Ox Labs claims that BitPay wrongfully exercised control over its personal
   4   property. To establish this claim, Ox Labs must prove all of the following:
   5         1. That Ox Labs owned or had a right to possess 200 Bitcoins;
   6         2. That BitPay substantially interfered with Ox Labs’ 200 Bitcoins by
   7   knowingly or intentionally selling them or refusing to return them after Ox Labs
   8   demanded their return;
   9         3. That Ox Labs did not consent;
  10         4. That Ox Labs was harmed; and
  11         5. That BitPay’s conduct was a substantial factor in causing Ox Labs’ harm.
  12
  13   Statement in Support of Plaintiff’s Proposed Instruction No. 25:
  14         Ox Labs’ proposed Instruction No. 25 tracks California Civil Jury Instructions
  15   (“CACI”) 2100 (2019), in compliance with the Court’s Order Regarding Jury Trial
  16   (Dkt. 22) Section II.C.4. Ox Labs proposes using the CACI instruction without the
  17   modification that BitPay proposes. BitPay’s proposed modification of the CACI
  18   instruction is misleading and confusing.
  19         Controlling California case law makes clear that Ox Labs can recover on its
  20   claim for conversion if it proves either that BitPay refused to return 200 Bitcoins on
  21   proper demand even though it originally obtained the Bitcoins lawfully or that BitPay
  22   sold the Bitcoins without Ox Labs’ authorization. See Cerra v. Blackstone, 172 Cal.
  23   App. 3d 604, 609 (1985) (“Unjustified refusal to turn over possession on demand
  24   constitutes conversion even where possession by the withholder was originally
  25   obtained lawfully and of course so does an unauthorized sale”) (internal citations
  26   omitted); see also Schroeder v. Auto Driveaway Co., 11 Cal.3d 908, 918 (1974)
  27   (“Where B is in possession of the property, or where he has such control over it that
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       PLAINTIFF OX LABS’ PROPOSED JURY INSTRUCTIONS & OBJECTIONS TO BITPAY’S INSTRUCTIONS
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   1   he can readily get possession (as where he has stored it with a bailee), and A demands
   2   it, and B fails to deliver it, no modern court is going to save B from being a converter
   3   on the ground that there was only a nonfeasance”) (citations and internal quotations
   4   marks omitted); Fearon v. Department of Corrections, 162 Cal. App. 3d 1254, 1257
   5   (1984) (“A conversion can occur when a willful failure to return property deprives
   6   the owner of possession”) (citation omitted); Smith v. Greenfield State Bank, 222 Cal.
   7   App. 2d 869, 873 (1963) (refusal to turn over property after proper demand is
   8   conversion “even though possession was lawfully obtained in the first instance”);
   9   Nicholson v. McDonald, 193 Cal. App. 2d 675, 680 (1961) (“McDonald had no legal
  10   right to retain the property in his possession, and therefore his refusal to give up
  11   possession on Nicholson’s demand amounted to conversion”); Wade v. Markwell &
  12   Co., 118 Cal. App. 2d 410, 433-34 (1953) (defendant’s “exercise of total dominion
  13   over plaintiff's property by its act of resale, even though believing it had the right to
  14   do so, constituted a conversion”) (citing Bancroft-Whitney Co. v. McHugh, 166 Cal.
  15   140, 143 (1913)); Alonso v. Badger, 58 Cal. App. 2d 752, 758 (1943) (“The action
  16   of appellant in exercising dominion and control over the property of respondents and
  17   making a sale thereof without such owners’ consent amounted to a conversion”)
  18   (citing Lusitanian-American Development Co. v. Seaboard Dairy Credit Corp., 1
  19   Cal.2d 121, 129 (1934)).
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   1                             Plaintiff’s Proposed Instruction No. 26
   2    UNJUST ENRICHMENT – QUASI-CONTRACT - MISTAKEN RECEIPT
   3         Ox Labs claims that BitPay owes it money or property for property that was
   4   received by mistake. To establish this claim, Ox Labs must prove all of the
   5   following:
   6         1.       That Ox Labs deposited 200 Bitcoins into BitPay’s account by
   7                  mistake;
   8         2.       That BitPay did not have a right to the 200 Bitcoins;
   9         3.       That Ox Labs asked BitPay to return the 200 Bitcoins;
  10         4.       That BitPay has not returned the 200 Bitcoins to Ox Labs; and
  11         5.       The amount of money that BitPay must pay, or property that it must
  12                  return, to Ox Labs to restore Ox Labs to its former position.
  13

  14              Statement in Support of Plaintiff’s Proposed Instruction No. 26
  15         Ninth Circuit precedent supports an unjust enrichment claim when the
  16   defendant “has been unjustly conferred a benefit through mistake, fraud, coercion,
  17   or request. The return of that benefit is the remedy ‘typically sought in a quasi-
  18   contract cause of action.’” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762
  19   (9th Cir. 2015) (emphasis added) (quoting 55 Cal. Jur. 3d Restitution § 2); see also
  20   Federal Deposit Ins. Corp. v. Dintino, 167 Cal. App. 4th 333, 346 (2008)
  21   (“Whether termed unjust enrichment, quasi-contract, or quantum meruit, the
  22   equitable remedy of restitution when unjust enrichment has occurred is an
  23   obligation (not a true contract) created by the law without regard to the intention of
  24   the parties, and is designed to restore the aggrieved party to his or her former
  25   position by return of the thing or its equivalent in money.”) (emphasis added,
  26   internal quotations marks and citation omitted).
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   1         In this case, the jury instruction that most closely mirrors the allegations of
   2   unjust enrichment in the Complaint is Instruction 374 of the California Civil Jury
   3   Instructions (“CACI”) (2019), which is the instruction for Mistaken Receipt. This
   4   is the appropriate instruction because “[c]ommon law principles of restitution
   5   require a party to return a benefit when the retention of such benefit would unjustly
   6   enrich the recipient; a typical cause of action involving such remedy is ‘quasi-
   7   contract.’” Munoz v. MacMillan, 195 Cal. App. 4th 648, 661 (2011) (citing
   8   McBride v. Boughton, 123 Cal. App. 4th 379, 388-389 (2004) (“For example,
   9   restitution may be awarded…where the defendant obtained a benefit from the
  10   plaintiff by fraud, duress, conversion, or similar conduct. In such cases, the plaintiff
  11   may choose not to sue in tort, but instead to seek restitution on a quasi-contract
  12   theory (an election referred to at common law as ‘waiving the tort and suing in
  13   assumpsit’). . . . In such cases, where appropriate, the law will imply a contract (or
  14   rather, a quasi-contract), without regard to the parties’ intent, in order to avoid
  15   unjust enrichment.”) (emphasis added, citations and internal quotation marks
  16   omitted); see also Utility Audit Co., Inc. v. City of Los Angeles, 112 Cal. App. 4th
  17   950, 958 (2003) (“As Witkin states in his text, ‘[a] common count is proper
  18   whenever the plaintiff claims a sum of money due, either as an indebtedness in a
  19   sum certain, or for the reasonable value of services, goods, etc., furnished. It makes
  20   no difference in such a case that the proof shows the original transaction to be an
  21   express contract, a contract implied in fact, or a quasi-contract.’”) (citations
  22   omitted).
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   1                         Plaintiff’s Proposed Instruction No. 27
   2                                 SPECIFIC RECOVERY
   3         If you decide that Ox Labs has proven its claims for conversion or unjust
   4   enrichment, then Ox Labs may elect the remedy of specific recovery of its property,
   5   in this case the return of 200 Bitcoins.
   6
   7             Statement in Support of Plaintiff’s Proposed Instruction No. 27
   8         California law permits Ox Labs to elect specific recovery as a remedy for
   9   claims of conversion and unjust enrichment. McBride v. Boughton, 123 Cal. App.
  10   4th 379, 388 (2004) (prevailing plaintiff in quasi-contract action is entitled to
  11   “return of the thing or its equivalent in money”); Taylor v. Forte Hotels Int’l, 235
  12   Cal. App. 3d 1119, 1123-24 (1991) (stating that remedies for conversion are
  13   “frequently . . . specific recovery of the property or damages based on the value of
  14   the property” and defining “recovery” broadly as “the regaining of that which has
  15   been lost, missing, or taken away”); Munoz v. MacMillan, 195 Cal. App. 4th 648
  16   (2011).
  17         Once liability is established, Ox Labs may elect among available remedies,
  18   including specific recovery. See, e.g., Fresno Air Serv. v. Wood, 232 Cal. App. 2d
  19   801, 806 (1965) (in a conversion action “[t]he injured party usually may elect
  20   among several remedies: (1) Specific recovery of the property, with damages for its
  21   detention. (2) Damages for conversion, based on the value of the property. (3)
  22   Quasi-contractual recovery based on ‘waiver of tort.’ (4) Action to quiet title.”)
  23   (quoting 2 Witkin, Summary of Cal. Law, Torts, § 139, pp. 1312-1313, citations
  24   omitted); see also Jahn v. Brickey, 168 Cal.App.3d 399, 406 (1985) (“[A]n election
  25   of remedies is required only after a decision on the merits and prior to entry of
  26   judgment.”); Horn v. Klatt, 65 Cal. App. 2d 510, 521 (1944) (California law entitles
  27   the plaintiff to a return of its property “or other things of the same kind and
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   1   quality.”); Minsky v. L.A., 11 Cal. 3d 113, 121 (1974) (“Where a wrongdoer has
   2   converted . . . personal property, the injured owner must elect between his right of
   3   ownership and possession (with the remedy of specific recovery) and his right to
   4   compensation (with the remedies of damages for conversion or quasi-contract
   5   recovery of value on theory of waiver of tort).”) (citing Witkin, Cal. Procedure (2d
   6   ed. 1970) Actions, § 114, p. 983); Flores v. Cal. Dep’t of Corrs. & Rehab., 224 Cal.
   7   App. 4th 199, 206 (2014), review denied, (Apr. 30, 2014) (“Available remedies for
   8   conversion include specific recovery of property with damages for its detention and
   9   damages based on the value of the property.”) (citing Cal. Civ. Code §§ 3336,
  10   3379; Allstate Leasing Corp. v. Smith, 238 Cal. App. 2d 128, 132-133 (1965);
  11   Roam v. Koop, 41 Cal. App. 3d 1035, 1039 (1974) (“Ordinarily a plaintiff need not
  12   elect, and cannot be compelled to elect, between inconsistent remedies during the
  13   course of trial prior to judgment.”); see also Waffer v. Int’l Corp. v. Khorsandi, 69
  14   Cal. App. 4th 1261 (1991) (discussing the election of remedies doctrine in
  15   California law generally and in the attachment context specifically).
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   1                            Plaintiff’s Proposed Instruction No. 28
   2                              DAMAGES FOR CONVERSION
   3                                    (CIV. CODE § 3336)
   4         If you decide that Ox Labs has proved its conversion claim against BitPay,
   5   Ox Labs has the choice between (1) specific recovery, explained in Instruction No.
   6   27, or (2) monetary compensation, which is called “damages.” If you determine
   7   that an award of both specific recovery and specific recovery of the property are
   8   warranted in this case, then Ox Labs will elect which remedy it will receive, but it
   9   will not receive both.
  10         If Ox Labs elects the remedy of damages, Ox Labs must prove the amount of
  11   its damages. However, Ox Labs does not have to prove the exact amount of
  12   damages that will provide reasonable compensation for the harm. You must not
  13   speculate or guess in awarding damages.
  14         The following are the specific items of damages claimed by Ox Labs:
  15         1.     The fair market value of the 200 Bitcoins at the time BitPay
  16                wrongfully exercised control over them; and
  17         2.     Prejudgment interest from the time of BitPay’s wrongful exercise of
  18                control over the 200 Bitcoins; and
  19         3.     Reasonable compensation for the time and money spent by Ox Labs in
  20                attempting to recover the 200 Bitcoins.
  21   OR
  22         1.     Special damages resulting from BitPay’s wrongful exercise of control
  23                over the 200 Bitcoins; and
  24         2.     Reasonable compensation for the time and money spent by Ox Labs in
  25                attempting to recover the 200 Bitcoins.
  26   In order to recover special damages, Ox Labs must prove:
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   1         1.       That it would not be adequately compensated by the value of the
   2                  property at the time of the conversion and interest;
   3         2.       That it was reasonably foreseeable that special injury or harm would
   4                  result from the conversion; and
   5         3.       That reasonable care on Ox Labs’ part would not have prevented the
   6                  loss.
   7         “Fair market value” is the highest price that a willing buyer would have paid
   8   to a willing seller, assuming:
   9         1.       That there is no pressure on either one to buy or sell; and
  10         2.       That the buyer and seller know all the uses and purposes for which the
  11                  Bitcoins are reasonably capable of being used.
  12         “Prejudgment interest” is the amount of interest the law provides to a
  13   plaintiff to compensate for the loss of the ability to use the wrongfully withheld
  14   funds or property. It is computed from the date on which the loss was incurred until
  15   the date on which you sign your verdict. The parties have agreed that they will
  16   calculate the amount of prejudgment interest due if you make an award of
  17   prejudgment interest. You are to decide whether an award of prejudgment interest
  18   should be made.
  19
  20              Statement in Support of Plaintiff’s Proposed Instruction No. 28
  21         California Civil Jury Instructions (“CACI”) 2102 (2019) provides the jury
  22   instructions applicable to damages for conversion. See also Cal. Civ. Code § 3336.
  23         For the reasons stated in the Statement in Support of Plaintiff’s Proposed
  24   Instruction Nos. 26 and 27, supra, Ox Labs contends that it is entitled to elect
  25   between specific recovery and statutory damages as a remedy for conversion. See
  26   Minsky, supra, 11 Cal. 3d at 121 (“Where a wrongdoer has converted . . . personal
  27   property, the injured owner must elect between his right of ownership and
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   1   possession (with the remedy of specific recovery) and his right to compensation
   2   (with the remedies of damages for conversion or quasi-contract recovery of value
   3   on theory of waiver of tort).”) (citing Witkin, Cal. Procedure (2d ed. 1970) Actions,
   4   § 114, p. 983). BitPay’s position is that only statutory damages are appropriate in
   5   this case. The parties agree that the proper jury instruction for statutory damages is
   6   CACI 2102.
   7         California cases construing Section 3336 generally hold that “special
   8   damages” are available when the harm exceeds the value of the property plus
   9   interest. See, e.g., Lueter v. State, 94 Cal. App. 4th 1285, 1302 (2002) (“As a
  10   general rule, the value of the converted property is the appropriate measure of
  11   damages, and resort to the alternative occurs only where a determination of
  12   damages on the basis of value would be manifestly unjust. Accordingly, a person
  13   claiming damages under the alternative provision must plead and prove special
  14   circumstances that require a measure of damages other than value, and the jury
  15   must determine whether it was reasonably foreseeable that special injury or damage
  16   would result from the conversion.”) (internal citations omitted); Moreno v.
  17   Greenwood Auto Ctr., 91 Cal. App. 4th 201, 209 (2001) (“The damage measures
  18   set forth in the first paragraph of section 3336 are in the alternative. The first
  19   alternative is to compensate for the value of the property at the time of conversion
  20   with interest from the time of the taking. The second alternative is compensation in
  21   a sum equal to the amount of loss legally caused by the conversion and which could
  22   have been avoided with a proper degree of prudence. Both of these alternatives are
  23   in addition to the damage element for the time spent pursuing the converted
  24   property set forth in the second paragraph of section 3336.”) (internal citations
  25   omitted); Lint v. Chisholm, 121 Cal. App. 3d 615, 624-625 (1981) (“In the absence
  26   of special circumstances the appropriate measure of damages for conversion of
  27   personal property is the fair market value of that property plus interest from the date
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       PLAINTIFF OX LABS’ PROPOSED JURY INSTRUCTIONS & OBJECTIONS TO BITPAY’S INSTRUCTIONS
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   1   of conversion, the standard first listed in section 3336, Civil Code. However,
   2   where proof establishes an injury beyond that which would be adequately
   3   compensated by the value of the property and interest, the court may award such
   4   amounts as will indemnify for all proximate reasonable loss caused by the wrongful
   5   act. Where damages for loss of use exceeds the legal rate of interest, it is
   6   appropriate to award the former, but not both.”) (internal citations omitted).
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   1                            Plaintiff’s Proposed Instruction No. 29
   2            STATUTE OF LIMITATIONS – AFFIRMATIVE DEFENSE
   3         BitPay contends that Ox Labs’ lawsuit was not filed within the time allowed
   4   by law. Before deciding that question, you must determine whether the violation is
   5   continuing. The violation is a continuing violation if:
   6             1. Ox Labs is entitled to the use and possession of 200 Bitcoins it
   7                mistakenly credited to Bitpay; and
   8             2. Ox Labs continues to be deprived of the use and possession of 200
   9                Bitcoins.
  10   If you determine that there is a continuing violation, then you need not proceed
  11   further with this instruction because the lawsuit is timely.
  12         If the violation is not a continuing violation, then you will need to determine
  13   the date of conversion. The date of conversion is the date on which BitPay refused
  14   Ox Labs’ demand for return of 200 Bitcoins. If you determine the date of
  15   conversion is on or after July 6, 2015, then you need not continue further because
  16   the lawsuit is timely.
  17         If you determine the date of conversion is before July 6, 2015, then the
  18   burden shifts to Ox Labs to prove:
  19             1. That before July 6, 2015, Ox Labs did not discover, and did not know
  20                 of facts that would have caused a reasonable person to suspect,
  21                 BitPay’s wrongful acts; and
  22             2. Ox Labs was not negligent in failing to make the discovery sooner
  23                 than it did.
  24   If the date of conversion is before July 6, 2015, and Ox Labs fails to prove the two
  25   facts above, then the lawsuit is untimely and you should find that BitPay has
  26   established its statute of limitations defense.
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   1           Statement in Support of Plaintiff’s Proposed Instruction No. 29
   2         Ox Labs contends that the continuing violation doctrine applies and that its
   3   conversion claim has thus not yet accrued. See De Vries v. Brumback, 53 Cal. 2d
   4   643, 646-67 (1960) (In Bank) (explaining that conversion “is a continuing tort -- as
   5   long as the person entitled to the use and possession of his property is deprived
   6   thereof. Contrary to appellant’s argument, it does not necessarily end when the
   7   original wrongdoer transfers physical possession to another."); Matson v.
   8   Vorhariwatt (In re Vorhariwatt), No. 17-cv-1255-WQH-MDD, U.S. Dist. LEXIS
   9   208560, at *9-10 (S.D. Cal. Dec. 18, 2017) (“The conversion does not end at the
  10   moment a lawful demand is refused, it continues as long as the person entitled to
  11   the use and possession of his property is deprived thereof. The conversion
  12   continues from the time the first lawful demand is refused until the lawful owner
  13   regains possession of his property.”) (citations and internal punctuation omitted);
  14   see also Hullinger v. Anand, No. CV 15-07185 SJO (FFMx), 2016 U.S. Dist.
  15   LEXIS 111918, at *10 (C.D. Cal. Aug. 11, 2016) (“California law treats
  16   conversion, fraud, and constructive fraud similarly with respect to the theory of
  17   ongoing liability”); AB Inv. LLC v. Regal One Corp., No. CV 09-02983-RGK
  18   (FFMx), 2009 U.S. Dist. LEXIS 135956, at *3-4 (C.D. Cal. Dec. 22, 2009) (stating
  19   that “conversion is a continuing tort as long as the person entitled to the use and
  20   possession of his property is deprived thereof and does not necessarily end when
  21   the original wrongdoer transfers physical possession to another.”) (citations and
  22   internal punctuation omitted).
  23         If the Court or jury determines that the continuing violation doctrine does not
  24   apply, Ox Labs contends that the date of conversion was June 6, 2017, which is the
  25   stipulated date on which BitPay refused Ox Labs’ request for BitPay to return its
  26   property. See Bufano v. San Francisco, 233 Cal. App. 2d 61, 70 (1965) (“Where an
  27   original taking is wrongful, the bar of the statute runs from the time of the unlawful
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       PLAINTIFF OX LABS’ PROPOSED JURY INSTRUCTIONS & OBJECTIONS TO BITPAY’S INSTRUCTIONS
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   1   taking, but where the original taking is lawful, the statute is not set in motion until
   2   the return of the property has been demanded and refused or until a repudiation of
   3   the owner’s title is clearly and unequivocally brought to his attention.”) (emphasis
   4   added). If the Court of jury determines that June 6, 2017 was the date of
   5   conversion, then the statute of limitations affirmative defense fails because the
   6   lawsuit was filed well within either a 2-year or 3-year statute of limitations.
   7         If the jury determines that the conversion occurred on a date earlier than July
   8   6, 2016 (i.e., more than two years before the filing of the Complaint), then the
   9   Court must decide whether a two-year or three-year statute of limitations applies to
  10   the conversion of Bitcoins. Ox Labs asserts that the proper statute of limitations for
  11   both conversion and unjust enrichment claims is three years and the defenses fail
  12   because the lawsuit was filed within three years from the date of conversion. See
  13   Cal. Civ. Proc. Code § 338, subdivision (d) (three-year statute of limitations applies
  14   to action for relief based on fraud or mistake); id. § 338, subdivision (c)(1) (three-
  15   year statute of limitations applies to action for taking, detaining, or injuring goods
  16   or chattels, including an action for the specific recovery of personal property); Fed.
  17   Deposit Ins. Corp. v. Dintino, 167 Cal. App. 4th 333, 349-50 (2008) (three-year
  18   statute of limitations applies to unjust enrichment claim based on mistake). The
  19   parties have briefed this question more completely in their respective memoranda of
  20   contentions of fact and law. [Dkt. 41 & 42.]
  21         If the lawsuit would be untimely under the applicable limitations period
  22   (whether two-year or three-year), then the lawsuit may still be timely under
  23   California’s delayed discovery rule. See Dintino, supra, at 349-50. The jury will
  24   need to decide whether Ox Labs had actual or constructive knowledge of its claim
  25   outside the limitations period and whether Ox Labs was negligent in failing to
  26   discover the basis for the claim earlier. See Sun ‘n Sand, Inc. v. United California
  27   Bank, 21 Cal. 3d 671, 701–702 (1978).
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   1                OX LABS’ OBJECTIONS TO BITPAY’S PROPOSED
   2                                 JURY INSTRUCTIONS
   3   BitPay’s Proposed Instruction No. 27
   4         Ox Labs claims that Bitpay wrongfully exercised control over its personal
   5   property. BitPay claims that it was due to Ox Labs own error that it was credited
   6   with the value of 200 bitcoins, which were sold that day, and that it was BitPay
   7   itself that ultimately discovered and disclosed the error.
   8         To establish this claim, Ox Labs must prove all of the following:
   9         1. That Ox Labs owned or had a right to possess the value of 200 Bitcoins;
  10         2. That Bitpay substantially interfered with Ox Labs’ 200 Bitcoins by
  11            knowingly or intentionally selling them or refusing to return them after Ox
  12            Labs demanded their return;
  13         3. That Ox Labs did not consent;
  14         4. That Ox Labs was harmed; and
  15         5. That Bitpay’s conduct was a substantial factor in causing Ox Labs’ harm.
  16   Conversion also requires a showing of “wrongful” conduct.
  17   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 27
  18         Ox Labs objects to this Instruction on the ground that it differs from the
  19   wording of CACI 2100, and BitPay has provided no reasoned argument for
  20   departing from the wording provided by CACI, as required by the Court’s Order
  21   Regarding Jury Trial, Section C(4). Because BitPay’s added language, highlighted
  22   above, is not one of the elements of Ox Labs’ claim, BitPay’s instruction is likely to
  23   confuse the jury and cause prejudice.
  24         The only authority BitPay cites in support of its added language is
  25   Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105 (2014).
  26   However, Prakashplanan does not support BitPay’s change to the standard CACI
  27   instruction. In that case, the Court of Appeal reversed the trial court’s demurrer to
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   1   the plaintiff’s conversion cause of action. See id. at 1138. In so holding the Court
   2   stated:
   3         Conversion is the wrongful exercise of dominion over the property of
   4         another. The elements of a claim for conversion are (1) the plaintiff's
   5         ownership or right to possession of the property at the time of the
   6         conversion, (2) the defendant’s conversion by a wrongful act or
   7         disposition of property rights, and (3) damages. It is not necessary that
   8         there be a manual taking of the property, only an assumption of
   9         control or ownership over the property, or that the alleged converter
  10         has applied the property to his or her own use.
  11   Id. at 1135 (emphasis added, citations and internal punctuation omitted). As
  12   the italicized language makes clear, there is no free-standing requirement of a
  13   “wrongful” act separate and apart from the act of converting the property
  14   itself; all that is required is an assumption of control or ownership of the
  15   property or application of the property to the converter’s own use. CACI
  16   2100 clearly and unambiguously covers this aspect of the tort in its second
  17   element. There is no need for the additional language BitPay proposes, and it
  18   should be rejected.
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       PLAINTIFF OX LABS’ PROPOSED JURY INSTRUCTIONS & OBJECTIONS TO BITPAY’S INSTRUCTIONS
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   1   BitPay’s Proposed Instruction No. 28
   2         If you decide that Ox Labs has proved its conversion claim against Bitpay,
   3   you also must decide how much money will reasonably compensate Ox Labs for
   4   the harm. This compensation is called “damages.”
   5         Ox Labs must prove the amount of its damages. You must not speculate or
   6   guess in awarding damages.
   7         California Statute 3336 [sic] provides alternative remedies for conversion.
   8   Specifically, the detriment caused by the wrongful conversion of personal property
   9   is presumed to be:
  10         (a)    First—The value of the property at the time of the conversion, with the
  11         interest from that time, or, an amount sufficient to indemnify the party
  12         injured for the loss which is the natural, reasonable and proximate result of
  13         the wrongful act complained of and which a proper degree of prudence on his
  14         part would not have averted; and
  15         (b)    Second—A fair compensation for the time and money properly
  16         expended in pursuit of the property.
  17         To find that an award is other than the value of the property at the time of the
  18   conversion, the jury must find that such an award is manifestly unjust to Ox Labs,
  19   the party that made the error, and that an award other that value at the time of the
  20   conversion is manifestly unjust to BitPay, the party that did not make the error.
  21         Additionally, to find that a damage other than the value at the time of the
  22   error is awardable, under Section 3336, Ox Labs must show that BitPay engaged in
  23   a wrongful act for which a proper amount of due diligence on Ox Labs’ part would
  24   not have averted.
  25   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 28
  26         Ox Labs objects to this Instruction on the grounds that it differs markedly
  27   from CACI 2102. Bitpay has not provided reasoned argument as to why the CACI
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   1   instruction should be modified or why it does not properly state the governing law.
   2         Ox Labs objects to the portion of BitPay’s proposed instruction that states
   3   “Ox Labs must prove the amount of its damages. You must not speculate or guess
   4   in awarding damages.” CACI 2012 provides instructions for the measure of
   5   damages for conversion, and those instructions state “[Plaintiff] must prove the
   6   amount of its damages. However, [Plaintiff] does not have to prove the exact
   7   amount of damages that will provide reasonable compensation for the harm. You
   8   must not speculate or guess in awarding damages.”
   9         Ox Labs also objects to the portion of the instruction that states: “To find that
  10   an award is other than the value of the property at the time of the conversion, the
  11   jury must find that such an award is manifestly unjust to Ox Labs, the party that
  12   made the error, and that an award other that value at the time of the conversion is
  13   manifestly unjust to BitPay, the party that did not make the error. Additionally, to
  14   find that a damage other than the value at the time of the error is awardable, under
  15   Section 3336, Ox Labs must show that BitPay engaged in a wrongful act for which
  16   a proper amount of due diligence on Ox Labs’ part would not have averted.” This
  17   misstates the governing law and is vastly different from the instruction in CACI
  18   2102, which lays out the standard for the jury to award special damages. Bitpay has
  19   not provided any reasoned argument as to why the CACI instruction should be
  20   modified as Bitpay suggests or why they do not properly state the law. Further,
  21   Bitpay’s modifications are clearly intended to cause prejudice and confuse the jury.
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   1   BitPay’s Proposed Instruction No. 29
   2         Unjust enrichment is not a standalone cause of action, but “describe the
   3   theory underlying a claim that a defendant has been unjustly conferred a benefit
   4   ‘through mistake, fraud, coercion, or request.’” When a plaintiff alleges unjust
   5   enrichment, a court may “construe the cause of action as a quasi-contract claim
   6   seeking restitution.”
   7         Ox Labs claims that BitPay owes it money for property that was received by
   8   mistake, specifically that it erroneously deposited 200 Bitcoins into Bitpay’s
   9   account by mistake, and that BitPay should return the 200 erroneous bitcoins.
  10         BitPay claims that it only received the value of the 200 bitcoins on the day of
  11   Ox Labs’ error, did not know about the error, sold the erroneous bitcoins that day,
  12   there is no evidence BitPay continued to hold any benefit from the 200 erroneous
  13   bitcoin, and that Ox Labs is unable to show that it would have retained the 200
  14   bitcoin but for the error.
  15   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 29
  16         Ox Labs objects to this instruction on the grounds that it does not actually
  17   instruct the jury. BitPay would have the Court simply recite language taken from
  18   case law to the jury and then present Ox Labs’ basis for its unjust enrichment claim
  19   and BitPay’s defenses. This is not a proper instruction, is not based on the 9th
  20   Circuit Manual of Model Instructions or CACI, and does not city any authority
  21   supporting the use of this language in a jury instruction.
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   1   BitPay’s Proposed Instruction No. 30
   2         If you decide that Ox Labs has proven its claims for conversion or unjust
   3   enrichment, then, as an alternative to monetary damages, you may award Ox Labs
   4   specific recovery of its property, in this case 200 Bitcoins, but only if you find
   5   either that BitPay continues to benefit from the 200 erroneous bitcoin credit and/or
   6   if Ox Labs has proven that it would still possess the 200 bitcoin but for the error.
   7   Furthermore, an award of damages other than the value of the property at the time
   8   of the error must still result from a finding that such an award is not manifestly
   9   unjust to BitPay.
  10   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 30
  11         Ox Labs objects to this instruction on the ground that it adds an element
  12   (“only if you find either that Bitpay continues to benefit from the 200 erroneous
  13   bitcoin credit and/or if Ox Labs has proven that it would still possess the 200
  14   bitcoin but for the error”) that is not supported by the case law related to specific
  15   recovery. Bitpay has not cited authority to support adding additional elements to
  16   the form instruction for the remedy of specific recovery. Plaintiff also objects to
  17   this instruction on the ground that it adds an element (“an award of damages other
  18   than the value of the property at the time of the error must still result from a finding
  19   that such an award is not manifestly unjust to BitPay”) that is not supported by the
  20   case law related to specific recovery.
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   1   BitPay’s Proposed Instruction No. 31
   2            The Court will decide whether a two year or three year statute of limitation
   3   applies to Ox Labs’ claims. If the Court determines that a two-year statute of
   4   limitations applies, then you must decide whether Ox Labs, through reasonable
   5   diligence either did or could have discovered the basis of its claim on or before July
   6   6, 2015, which is known as the discovery rule.
   7            In making such determination as to when a party learned or should have
   8   learned about a cause of action, a party is not excused from discovery of its own
   9   error.
  10   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 31
  11            Ox Labs objects to this instruction on the ground that it is vague and
  12   ambiguous because the jury does not need to be instructed that the judge will decide
  13   whether a two-or three-year statute of limitations applies. Ox Labs also objects to
  14   this instruction on the ground that it is not phrased properly and will likely lead to
  15   confusion of the jury. Ox Labs further objects to this instruction on the ground that
  16   it does not properly state the legal burden of proof, since Bitpay has the burden of
  17   proof on its own affirmative defense. Ox Labs further objects to this instruction on
  18   the grounds that it states the incorrect date for when the two-year statute of
  19   limitations would begin running. Plaintiff also objects to this instruction on the
  20   grounds that it adds an additional element that is not supported by case law and is
  21   vague and ambiguous (“In making such determination as to when a party learned or
  22   should have learned about a cause of action, a party is not excused from discovery
  23   of its own error.”)
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   1   BitPay’s Proposed Instruction No. 32
   2         Even if a party may be excused from its own the equitable remedy is to
   3   return the party that committed the mistake to the position they would have been in,
   4   but-for the mistake. BitPay contends that it would be unjust to require BitPay to
   5   refund the 200 erroneous bitcoin that it asserts it did had in the first place.
   6   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 32
   7         Ox Labs objects to this instruction on the ground that it is vague, ambiguous,
   8   and confusing to the jury. This instruction purports to state an alternate measure of
   9   damages if a party is excused from its own error, but it is unclear when a jury
  10   would be instructed to rely on this instruction instead of relying on CACI 2102 or
  11   the instruction for specific recovery. Ox Labs further objects to this instruction on
  12   the ground that it is at variance from CACI without any reasoned argument for
  13   using these instructions in place of the instructions provided by CACI or the case
  14   law regarding specific recovery.
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       PLAINTIFF OX LABS’ PROPOSED JURY INSTRUCTIONS & OBJECTIONS TO BITPAY’S INSTRUCTIONS
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   1   BitPay’s Proposed Instruction No. 33
   2         Interest is normally awardable under California Code 3336. However, a
   3   plaintiff has the duty to mitigate damages and not recover losses that could have
   4   been avoided. Nor should a plaintiff earn a windfall. In such a case, the jury may
   5   decline to award interest.
   6   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 33
   7         Plaintiff objects to this instruction on the grounds that it is intended to cause
   8   prejudice and would unduly confuse the jury. Civil Code section 3336 includes
   9   prejudgment interest in the presumed measure of damages for conversion, and
  10   interest is mandatory, not discretionary, if liability is established. Moreover, the
  11   CACI instructions include an award of prejudgment interest, which Bitpay does not
  12   propose using. Bitpay has not provided any reasoned argument for using its
  13   instruction in place of the instruction provided by CACI or by the statute that states
  14   the measure of damages for conversion. The sole authority cited by Bitpay, Bank of
  15   Stockton v. Verizon Comm’ns, Inc., No. 09-15909, 2010 WL 1474053 (9th Cir.
  16   April 14, 2010) at *1, an unpublished Ninth Circuit opinion, is readily
  17   distinguishable. In that case, the party whose property was converted could have
  18   repurchased the property at a lower price after the conversion, and thus an
  19   additional award of prejudgment interest, over and above the market value of the
  20   property, would have been a windfall. Here, the opposite is true. The price of
  21   Bitcoin continued to increase after the conversion, such that Plaintiff would have
  22   had to pay much more to repurchase 200 Bitcoins after the conversion than the
  23   value of the Bitcoins at the time of the conversion. Therefore, even if the Bank of
  24   Stockton case otherwise applied, there would be no injustice to BitPay arising from
  25   the statutorily-required payment of prejudgment interest.
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   1   BitPay’s Proposed Instruction No. 34
   2         Plaintiff Ox Labs if not entitled to recover if it determined that Defendant
   3   BitPay already tendered an unconditional payment for its profits from the
   4   erroneously credited bitcoin in the full amount it is determined to be owed to
   5   Plaintiff Ox Labs.
   6   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 34
   7         Ox Labs objects to this instruction on the grounds that BitPay did not
   8   disclose the proposed instruction until November 3, 2019, although it was required
   9   to do so before the required conference of counsel on October 7, 2019. See L.R.
  10   16-2 & Order Regarding Jury Trial at II.A.2. The Court requires “strict” adherence
  11   to the Local Rules. This woefully late instruction should be rejected on timeliness
  12   grounds alone.
  13         Ox Labs also objects to this proposed instruction because it improperly
  14   attempts to provide the jury with information about an unaccepted settlement offer
  15   BitPay made before this litigation commenced. The U.S. Supreme Court has
  16   unambiguously held that such an offer is a “legal nullity.” Campbell-Ewald Co. v.
  17   Gomez, 577 U.S. ___, 136 S. Ct. 663, 670 (2016). BitPay offers no reasoned
  18   explanation why a “legal nullity” would be relevant or should be considered by the
  19   jury pursuant to an instruction from the Court. Ox Labs has objected more
  20   generally to BitPay’s attempt to put settlement communications before the jury in
  21   its Motion in Limine No. 1 [Dkt. 43].
  22         Ox Labs also objects to this instruction on the grounds that it is unintelligible.
  23   Civil Code section 3336 and the CACI instructions do not support the creation of an
  24   additional requirement that a plaintiff must prove that the defendant did not tender
  25   an unconditional payment. BitPay seeks to create an additional element to a claim
  26   of conversion that is entirely unsupported.
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   1         The authority cited by BitPay is inapposite. Even if the presumed measure of
   2   statutory damages applies in this case, it is uncontested that BitPay did not tender—
   3   and Ox Labs did not accept—full statutory damages in this case. BitPay asserts
   4   that “there must be some reasonable connection between the act or omission of the
   5   defendant and the damage which the plaintiff suffered.” Myers v. Stephens, 233
   6   Cal. App. 2d 104, 119 (1965). But such a “reasonable connection” is clearly
   7   established by just the stipulations of fact in this matter. Ox Labs owned and had a
   8   right to possess 200 Bitcoins, demanded their return from BitPay, and BitPay has
   9   not returned them. There is no legal requirement that the jury find any additional
  10   connection.
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   1   BitPay’s Proposed Instruction No. 35
   2            If you decide that Ox Labs has proven its claims for conversion or unjust
   3   enrichment, then, as an alternative to monetary damages, you may award Ox Labs
   4   specific recovery of its property, in this case 200 Bitcoins, but only if you find
   5   either that BitPay continues to possess the 200 erroneous bitcoin credit or its benefit
   6   and/or if Ox Labs has proven that it would still possess the 200 bitcoin but for the
   7   error.
   8   Ox Labs’ Objections to BitPay’s Proposed Instruction No. 35
   9            Ox Labs objects to this instruction on the ground that BitPay did not disclose
  10   this proposed instruction until November 3, 2019, when it was required to do so
  11   before the required conference of counsel on October 7, 2019. See L.R. 16-2 &
  12   Order Regarding Jury Trial at II.A.2. Ox Labs also objects to this instruction on the
  13   grounds that it is intended to cause prejudice and would unduly confuse the jury.
  14   Ox Labs also objects to this instruction on the grounds that it is redundant because
  15   specific recovery and damages have been addressed in prior instructions and the
  16   legal citations in support.
  17            BitPay cites Tsai v. Wang, Case No. 17-cv-00614, 2017 WL 2587929 (N.D.
  18   Cal. June 14, 2017), for the proposition that money is not subject to conversion
  19   claims unless it is marked or designated in some manner to make it specifically
  20   identifiable. But this authority is inapplicable because BitPay has never argued that
  21   Bitcoins are money. Indeed, BitPay admits that Bitcoins are “commodities,” not
  22   money, conceding that Tsai is inapposite. Moreover, the California Court of
  23   Appeal, in a published opinion citing multiple authorities to the same effect, has
  24   held that in cases involving the conversion of money the plaintiff need not trace the
  25   property converted in the tortured manner BitPay suggests. See Welco Elec., Inc. v.
  26   Mora, 223 Cal. App. 4th 202, 209 (2014) (“Money may be the subject of
  27   conversion if the claim involves a specific, identifiable sum; it is not necessary that
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   1   each coin or bill be earmarked.”) (citing Haigler v. Donnelly, 18 Cal. 2d 674, 681
   2   (1941)). Respectfully, state appellate courts articulate the law of California in their
   3   published opinions, not federal district courts in unpublished opinions.
   4
   5   Dated: November 4, 2019                          Respectfully Submitted,
   6                                                    LEIDER + AYALA-BASS LLP
   7                                           By:        /s/ Philip. A. Leider
   8                                                    Philip A. Leider

   9                                                    Attorneys for Ox Labs Inc.

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   1                            CERTIFICATE OF SERVICE
   2         I certify that counsel of record, listed below, is being served on November 4,
   3   2019, with a copy of this document through the CM/ECF Filing System as identified
   4   on the Notice of Electronic Filing dated November 4, 2019.
   5
                                                                    /s/ Anahit Samarjian
   6                                                                Anahit Samarjian
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